           Case 1:21-cv-00896-ADA Document 426 Filed 04/14/22 Page 1 of 18                      FILED
                                                                                             April 14, 2022
                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                         WESTERN DISTRICT OF TEXAS


                          IN THE UNITED STATES DISTRICT COURT
                                                                                             J. Galindo-Beaver
                                                                                      BY: ________________________________
                                                                                                              DEPUTY
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

      STANDING ORDER GOVERNING PROCEEDINGS (OGP) 4.1—PATENT CASES

This OGP governs proceedings in all patent cases pending before the undersigned or Judge
Derek T. Gilliland and takes effect upon entry in all patent cases, except where noted. If there are
conflicts between this OGP and prior versions in existing cases that the parties are unable to
resolve, the parties are encouraged to contact the Court for guidance via email to the Court’s law
clerk.

Parties should generally email any inquiries to the Court’s law clerk. The Court’s voicemail is
not checked regularly. Email is the preferred contact method.

Parties should generally use the following email address that includes the Court’s law clerks for
both Judge Albright and Judge Gilliland:

TXWDml_LawClerks_WA_JudgeAlbright&Gilliland@txwd.uscourts.gov.

Messages directed only to Judge Albright’s law clerks may be sent to:

TXWDml_LawClerks_WA_JudgeAlbright@txwd.uscourts.gov.

Messages directed only to Judge Gilliland’s law clerks may be sent to:

TXWDml_NoJudge_Chambers_WA_JudgeGilliland@txwd.uscourts.gov.

                                  I.   NOTICE OF READINESS 1

In all patent cases pending before the undersigned or Judge Gilliland, the parties are directed to
jointly file the Case Readiness Status Report (“CRSR”) in the format attached as Appendix B:
(a) within 7 days after the Defendant (or at least one Defendant among a group of related
Defendants sued together) has responded to the initial pleadings in cases where there are no
CRSR Related Cases, or (b) when there are CRSR Related Cases, within 7 days after the last
Defendant (or last Defendant group when at least one Defendant among the group has
responded) among the CRSR Related Cases has responded to the initial pleadings. The CRSR
shall be filed in each case and identify all other CRSR Related Cases. For this Order, cases shall
be considered CRSR Related Cases when they meet both criteria: (1) the cases are filed within
30 days after the first case is filed, and (2) the cases share at least one common asserted patent.

The parties shall meet and confer before jointly filing the CRSR. Plaintiff shall have
responsibility for filing the CRSR on time. If the parties have any pre-Markman issues needing
resolution, the parties shall email the Court a joint submission of the parties’ positions after filing
the CRSR so the Court can consider whether to hold a hearing to resolve these issues. If the

1
    This supersedes the March 7, 2022 Standing Order Regarding Notice of Readiness for Patent Cases.

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parties do not have any pre-Markman issues needing resolution, then the parties need not email
the CRSR to the Court.

The Case Management Conference (“CMC”) shall be deemed to occur 14 days after the filing
date of the CRSR. If the CRSRs in CRSR Related Cases are not all submitted on the same date,
the CMC shall be deemed to occur 14 days after the last CRSR in those CRSR Related Cases is
filed. The Court intends to coordinate the CRSR Related Cases on the same schedule with a
single Markman hearing, so the parties should plan accordingly. In all cases, the Markman
hearing shall be initially scheduled for 23 weeks after the CMC and should be included in the
parties’ proposed Scheduling Order in accordance with this Order.

                              II.   GENERAL DEADLINES

The following deadlines apply:

   1. Patent cases shall be set for a Rule 16 CMC in accordance with the preceding section.

   2. Not later than 7 days before the CMC. The plaintiff shall serve preliminary infringement
      contentions chart setting forth where in the accused product(s) each element of the
      asserted claim(s) are found. The plaintiff shall also identify the priority date (i.e., the
      earliest date of invention) for each asserted claim and produce: (1) all documents
      evidencing conception and reduction to practice for each claimed invention, and (2) a
      copy of the file history for each patent in suit.

   3. Two weeks after the CMC. The parties shall file a motion to enter an agreed Scheduling
      Order that generally tracks the exemplary schedule attached as Exhibit A to this OGP,
      which should suit most cases. If the parties cannot agree, the parties shall submit a joint
      motion for entry of a Scheduling Order briefly setting forth their scheduling
      disagreement. Absent agreement of the parties, the plaintiff shall be responsible for the
      timely submission of this and other joint filings. When filing any Scheduling Order, the
      parties shall also jointly send an editable copy to the Court’s law clerk.

   4. Seven weeks after the CMC. The defendant shall serve preliminary invalidity contentions
      in the form of (1) a chart setting forth where in the prior art references each element of
      the asserted claim(s) are found, (2) an identification of any limitations the defendant
      contends are indefinite or lack written description under § 112, and (3) an identification
      of any claims the defendant contends are directed to ineligible subject matter under §
      101. The § 101 contention shall (1) identify the alleged abstract idea, law of nature,
      and/or natural phenomenon in each challenged claim; (2) identify each claim element
      alleged to be well-understood, routine, and/or conventional; and (3) to the extent not
      duplicative of §§ 102/103 prior art contentions, prior art for the contention that claim
      elements are well-understood, routine, and/or conventional. The defendant shall also
      produce (1) all prior art referenced in the invalidity contentions, and (2) technical




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         documents, including software where applicable, sufficient to show the operation of the
         accused product(s). 2

                           III.    GENERAL DISCOVERY LIMITS

Except with regard to venue, jurisdictional, and claim construction-related discovery, all other
discovery shall be stayed until after the Markman hearing. Notwithstanding this general stay of
discovery, the Court will permit limited discovery by agreement of the parties, or upon request,
where exceptional circumstances warrant it. For example, if discovery outside the United States
is contemplated via the Hague, the Court is inclined to allow such discovery to commence before
the Markman hearing.

Following the Markman hearing, the following discovery limits apply. The Court will consider
reasonable requests to adjust these limits should circumstances warrant.

    1.   Interrogatories: 30 per side 3
    2.   Requests for Admission: 45 per side
    3.   Requests for Production: 75 per side
    4.   Fact Depositions: 70 hours per side (for both party and non-party witnesses combined)
    5.   Expert Depositions: 7 hours per report 4

Electronically Stored Information. As a preliminary matter, the Court will not require general
search and production of email or other electronically stored information (ESI) related to email
(such as metadata), absent a showing of good cause. If a party believes targeted email/ESI
discovery is necessary, it shall propose a procedure identifying custodians and search terms it
believes the opposing party should search. The opposing party can oppose or propose an
alternate plan. If the parties cannot agree, they shall contact the Court in accordance with the
procedures below, to discuss their respective positions.

                                  IV.    DISCOVERY DISPUTES

Procedure. A party may not file a Motion to Compel discovery unless: (1) lead counsel have
met and conferred in good faith to try to resolve the dispute, and (2) the party has contacted the
Court’s law clerk to summarize the dispute and the parties’ respective positions. When



2
 To the extent it may promote early resolution, the Court encourages the parties to exchange license and
sales information, but any such exchange is optional during the pre-Markman phase of the case.
3
  A “side” shall mean the plaintiff (or related plaintiffs suing together) on the one hand, and the defendant
(or related defendants sued together) on the other hand. If the Court consolidates related cases for pretrial
purposes, with regard to calculating limits imposed by this OGP, a “side” shall be interpreted as if the
cases were proceeding individually. For example, in consolidated cases the plaintiff may serve up to 30
interrogatories on each defendant, and each defendant may serve up to 30 interrogatories on the plaintiff.
4
 For example, if a single technical expert submits reports on both infringement and invalidity, he or she
may be deposed for up to 14 hours in total.

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contacting the Court’s law clerk for discovery or procedural disputes, the following procedures
shall apply.

If the parties remain at an impasse after lead counsel have met and conferred, the requesting
party shall email a summary of the issue(s) and specific relief requested to all counsel of record.
The summary of the issue shall not exceed 500 words for one issue or a combined 1,000 words
for multiple issues. The responding party has 3 days thereafter to provide an email response, also
not to exceed 500 words for one issue or a combined 1,000 words for multiple issues. The
specific relief requested should propose the exact language to be issued in a court order for each
part of every disputed issue. The specific relief requested does not count toward the word limits.
The Court encourages the parties to provide their submission in the following table format,
which clearly identifies the disputed issues and specific relief requested.

                                                 Example:

        Issue            Requesting Party’s Position               Responding Party’s Position

    RFP 1:          Responding Party didn’t produce          We found no sales records of the
    All sale        anything. Responding Party keeps         Product in the sales database.
    records of      its sales records in a sales database.
    the Product.
                    Relief: Order that “Responding           Relief: Find that “no documents
                    Party must produce a copy of the         responsive to RFP 5 exist” and deny
                    sales database within 7 days.”           Requesting Party’s relief.

    ROG 5:          Responding Party only identified a       We identified the relevant employees.
    Identify all    subset of the employees.                 The other employees are not relevant,
    employees                                                and it is too burdensome to identify
    who worked      Relief: Order that “Responding           every employee.
    on the          Party is compelled to fully respond
    Product.        to ROG 5 by identifying the names        Relief: Order that “Responding Party
                    and locations of the remaining           need not identify any other employees in
                    employees who worked on Product          response to ROG 5.”
                    by [date].”



Once the opposing party provides its response, the requesting party shall email the summaries of
the issues to the Court’s law clerk with opposing counsel copied. If a hearing is requested, the
parties shall indicate in the email whether any confidential information will be presented.
Thereafter, the Court will provide guidance to the parties regarding the dispute or arrange a
telephonic or Zoom hearing. The hearing shall proceed in the sequence of issues charted.

Written Order. 5 Within 7 days of the discovery hearing, the parties shall email a joint proposed
order to the Court’s law clerk that includes the summaries of the issues, relief requested, and the

5
    This supersedes the June 17, 2021 Standing Order for Discovery Hearings in Patent Cases.

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parties’ understanding of the Court’s ruling. If one party disputes the language of the order, then
that party shall send an editable version of the proposed order to the Court’s law clerk with the
disputed language in tracked changes.

                    V.    VENUE & JURISDICTIONAL DISCOVERY

The Court hereby 6 establishes the following presumptive limits on discovery related to venue
and jurisdiction: each party is limited to 5 interrogatories, 10 Requests for Production, and 10
hours of deposition testimony. The time to respond to such discovery requests is reduced to 20
days. If a party believes these limits should be expanded, the party shall meet and confer with
opposing counsel and if an impasse is reached, the requesting party is directed to contact the
Court’s law clerk for a telephonic hearing.

Venue or jurisdictional discovery automatically opens upon the filing of an initial venue or
jurisdictional motion and shall be completed no later than 10 weeks after the filing of such
motion. Parties shall file a notice of venue or jurisdictional discovery if the discovery will delay
a response to a motion to transfer.

                            VI.    MOTIONS FOR TRANSFER

This section applies to all cases filed on or after March 7, 2022. Otherwise, the Second Amended
Standing Order Regarding Motions for Inter-District Transfer controls earlier-filed cases.

A motion to transfer anywhere may be filed within 3 weeks after the CMC or within 8 weeks of
receiving or waiving service of the complaint, whichever is later. Thereafter, a movant must
show good cause for any delay and seek leave of court. The deadline for plaintiff’s response is 2
weeks after the completion of venue or jurisdictional discovery. The deadline for Defendant’s
reply is 2 weeks after the filing of the response.

The following page limits and briefing schedule apply to motions to transfer:

       a. Opening – 15 pages

       b. Response – 15 pages, due 14 days after the completion of venue or jurisdictional
          discovery, if such discovery is conducted; otherwise, 14 days after the Opening brief

       c. Reply – 5 pages, due 14 days after the Response brief

All parties who have filed a motion to transfer shall provide the Court with a status report
indicating whether the motion has been fully briefed at each of the following times: 1) when the
motion to transfer becomes ready for resolution, 2) at 4 weeks before the Markman hearing date
if the motion to transfer remains unripe for resolution and 3) if there are multiple Markman
hearings, the status report is due 6 weeks before the first scheduled Markman hearing. In
addition, if by 1 week before the Markman hearing the Court has not ruled on any pending


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 This supersedes the June 8, 2021 Amended Standing Order Regarding Venue and Jurisdictional
Discovery Limits for Patent Cases.

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motion to transfer, the moving party is directed to email the Court’s law clerk (and the technical
advisor, when appointed), and indicate that the motion to transfer is pending.

If a motion to transfer remains pending, the Court will either promptly resolve the pending
motion before the Markman hearing, or postpone the Markman hearing. Whenever a Markman
hearing is postponed pursuant to this OGP (e.g., because the transfer motion has not yet ripened
or only recently ripened), Fact Discovery will begin one day after the originally scheduled
Markman hearing date.

             VII. MEET AND CONFER REQUIREMENT FOR
      EARLY MOTIONS TO DISMISS INDIRECT AND WILLFUL INFRINGEMENT

Any party seeking to dismiss claims of indirect or willful infringement before fact discovery
must first meet and confer with the opposing party to discuss dismissing those allegations
without prejudice, with leave to re-plead those allegations with specificity if supported by a good
faith basis under Rule 11. Under this agreement, the patent owner may re-plead those allegations
within three months after fact discovery opens, and the parties agree to permit fact discovery on
indirect and willful infringement during those three months. The party moving to dismiss must
attach a certification of compliance with this OGP to its motion to dismiss.

An agreement to dismiss under this section shall be filed as a joint notice instead of as a motion.

                       VIII.    INTERIM PROTECTIVE ORDER

The Court provides a Model Protective Order on its website. Pending entry of the final Protective
Order, the Court issues the following interim Protective Order to govern the disclosure of
confidential information:

       If any document or information produced in this matter is deemed confidential by the
       producing party and if the Court has not entered a protective order, until a protective
       order is issued by the Court, the document shall be marked “confidential” or with some
       other confidential designation (such as “Confidential – Outside Attorneys’ Eyes Only”)
       by the disclosing party and disclosure of the confidential document or information shall
       be limited to each party’s outside attorney(s) of record and the employees of such outside
       attorney(s).

       If a party is not represented by an outside attorney, disclosure of the confidential
       document or information shall be limited to one designated “in house” attorney, whose
       identity and job functions shall be disclosed to the producing party 5 days prior to any
       such disclosure, in order to permit any motion for protective order or other relief
       regarding such disclosure. The person(s) to whom disclosure of a confidential document
       or information is made under this OGP shall keep it confidential and use it only for
       purposes of litigating the case.




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                             IX.     CLAIM CONSTRUCTION

                     Limits for Number of Claim Terms to be Construed

Terms for Construction. Based on the Court’s experience, the Court believes that it should
have presumed limits on the number of claim terms to be construed. The “presumed limit” is the
maximum number of terms that each side may request the Court to construe without further
leave of Court. If the Court grants leave for additional terms to be construed, depending on the
complexity and number of terms, the Court may split the Markman hearing into multiple
hearings.

The presumed limits based on the number of patents-in-suit are as follows:

 1-2 Patents                       3-5 Patents                      More than 5 Patents
 8 terms                           10 terms                         12 terms

When the parties submit their joint claim construction statement, in addition to the term and the
parties’ proposed constructions, the parties should indicate which party or side proposed that
term, or if that was a joint proposal.

                              Briefing Procedure and Page Limits

The Court will require non-simultaneous Markman briefing with the following default page
limits. When exceptional circumstances warrant, the Court will consider reasonable requests to
adjust these limits. These page limits shall also apply collectively for coordinated and
consolidated cases; however, the Court will consider reasonable requests to adjust page limits in
consolidated cases where circumstances warrant. The Court has familiarity with the law of claim
construction and encourages the parties to forego lengthy recitations of legal authorities and to
instead focus on the substantive issues unique to each case.

Unless otherwise agreed to by the parties, the default order of terms in the parties’ briefs shall be
based on 1) the patent number (lowest to highest), the claim number (lowest to highest), and
order of appearance within the lowest number patent and claim. An example order may be as
follows:

   1. 10,000,000 Patent, Claim 1, Term 1
   2. 10,000,000 Patent, Claim 1, Term 2 (where Term 2 appears later in the claim than does
      Term 1)
   3. 10,000,000 Patent, Claim 2, Term 3 (where Term 3 appears later in the claim than does
      Terms 2 and 3)
   4. 10,000,001 Patent, Claim 1, Term 4
   5. 10,000,001 Patent, Claim 3, Term 5
   6. 10,000,002 Patent, Claim 2, Term 6

If that the same or similar terms appear in multiple claims, those same or similar terms should be
ordered according to the lowest patent number, lowest claim number, and order of appearance
within the patent and claim.

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 Brief                    1-2 Patents                3-5 Patents            More than 5 Patents
 Opening                  20 pages                   30 pages               30 pages, plus 5
 (Defendant)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 45
                                                                            pages
 Response                 20 pages                   30 pages               30 pages, plus 5
 (Plaintiff)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 45
                                                                            pages
 Reply                    10 pages                   15 pages               15 pages, plus 2
 (Defendant)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 21
                                                                            pages
 Sur-Reply                10 pages                   15 pages               15 pages, plus 2
 (Plaintiff)                                                                additional pages for
                                                                            each patent over 5 up
                                                                            to a maximum of 21
                                                                            pages

After briefing concludes, the parties shall file a Joint Claim Construction Statement and email an
editable copy to the Court’s law clerks.

                 Technology Tutorials and Conduct of the Markman Hearing

Technology tutorials are optional, especially in cases where a technical advisor has been
appointed. If the parties submit one, the tutorial should be in electronic form, with voiceovers,
and submitted at least 10 days before the Markman hearing. In general, tutorials should be: (1)
directed to the underlying technology (rather than argument related to infringement or validity),
and (2) limited to 15 minutes per side. The tutorial will not be part of the record and the parties
may not rely on or cite to the tutorial in other aspects of the litigation.

The Court generally sets aside one hour for the Markman hearing; however, the Court is open to
reserving more or less time, depending on the complexity of the case and input from the parties.
As a general rule, the party opposing the Court’s preliminary construction shall go first. If both
parties oppose the Court’s preliminary construction, the plaintiff shall typically go first.

The Court will provide preliminary constructions to the parties ahead of the Markman hearing.
At the Markman hearing, the Court encourages oral arguments that fine-tune the preliminary
constructions over arguments repeated from the briefs.




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                                     X.     GENERAL ISSUES

1. The Court will entertain reasonable requests to streamline the case schedule and discovery.
   The Parties should contact the Court’s law clerk when a change might help streamline the
   case.

2. The Court is generally willing to extend the response to the Complaint up to 45 days if
   agreed by the parties. However, longer extensions are disfavored.

3. Speaking objections during depositions are improper. Objections during depositions shall be
   stated concisely and in a nonargumentative and nonsuggestive manner. Examples of
   permissible objections include: “Objection, leading,” “Objection, compound,” “Objection,
   vague.” Other than to evaluate privilege issues, counsel should not confer with a witness
   while a question is pending. Counsel may confer with witnesses during breaks in a deposition
   without waiving any otherwise applicable privilege.

4. Plaintiff must file a notice informing the Court when an IPR is filed, the expected time for an
   institution decision, and the expected time for a final written decision, within 2 weeks of the
   filing of the IPR.

5. After the trial date is set, the Court will not move the trial date except in extreme situations.
   If a party believes that the circumstances warrant continuing the trial date, the parties are
   directed to contact the Court’s law clerk.

6. The Court does not limit the number of motions for summary judgment (MSJs), Daubert
   motions, or Motions in limine (MIL) a party may file. However, absent leave of Court, the
   cumulative page limit for opening briefs for all MSJs is 40 pages per side, for all Daubert
   motions is 40 pages per side, and for all MILs is 15 pages per side. Each responsive MSJ,
   Daubert, and MIL brief is limited to the pages utilized in the opening brief or by the local
   rules, whichever is greater; and the cumulative pages for responsive briefs shall be no more
   than cumulative pages utilized in the opening briefs. Reply brief page limits shall be
   governed by the local rules.

7. For Markman briefs, 7 summary judgment motions, and Daubert motions, the parties shall
   jointly deliver to Chambers one double-sided paper copy of the Opening, Response, and
   Reply briefs, omitting attachments, at least 10 days before the hearing. Absent agreement to
   the contrary, the plaintiff shall be responsible for delivering a combined set of paper copies to
   chambers. Each party shall also provide an electronic copy of the briefs, exhibits, and the
   optional technology tutorial via USB drive. For Markman briefs, the parties should also
   include one paper copy of all patents-in-suit and an editable copy of the Joint Claim
   Construction Statement. If the Court appoints a technical advisor, each party shall deliver the
   same to the technical advisor, also 10 days before the hearing.



7
 But if the Court appoints a technical advisor for claim construction, the parties should not provide a
copy of the Markman briefs to the Court.

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8. When filing the Joint Claim Construction Statement or proposed Protective Order, the parties
   shall also email the law clerk a Word version of the filed documents.

9. For all non-dispositive motions, the parties shall submit a proposed Order. The proposed
   Order shall omit the word “Proposed” from the title.

10. Unless the Court indicates otherwise, the following Zoom information shall be used for all
    non-private hearings. The public is allowed to attend non-private hearings. Any party who
    intends to present confidential information shall email the Court’s law clerk to request a
    private Zoom setup.

   Hearings before Judge Albright:

   https://txwd-
   uscourts.zoomgov.com/j/1613131172?pwd=ek9WOFZLeHZXalNYVmFOdkJabDJoQT09

   Meeting ID: 161 313 1172
   Passcode: 167817
   One tap mobile: +16692545252,,1613131172#,,,,*167817

   Hearings before Judge Gilliland:

   https://txwd-
   uscourts.zoomgov.com/j/1610427634?pwd=V2RpaERVTkdySGI4b2F6cTZGSWRiZz09

   Meeting ID: 161 042 7634
   Passcode: 098663
   One tap mobile +16692545252,,1610427634#,,,,*098663




SIGNED this 14th day of April, 2022.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE




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                     XI.     APPENDIX A – EXEMPLARY SCHEDULE

    Deadline                     Item

    8 weeks after receiving or   Deadline to file a motion for inter-district transfer. After this
    waiving service of           deadline, movants must seek leave of Court and show good
    complaint or 3 weeks after   cause for the delay.
    the CMC, whichever is
    later.

    7 days before CMC            Plaintiff serves preliminary 8 infringement contentions in the
                                 form of a chart setting forth where in the accused product(s)
                                 each element of the asserted claim(s) are found. Plaintiff shall
                                 also identify the earliest priority date (i.e. the earliest date of
                                 invention) for each asserted claim and produce: (1) all
                                 documents evidencing conception and reduction to practice
                                 for each claimed invention, and (2) a copy of the file history
                                 for each patent in suit.

    2 weeks after CMC            The Parties shall file a motion to enter an agreed Scheduling
                                 Order. If the parties cannot agree, the parties shall submit a
                                 separate Joint Motion for entry of Scheduling Order briefly
                                 setting forth their respective positions on items where they
                                 cannot agree. Absent agreement of the parties, the Plaintiff
                                 shall be responsible for the timely submission of this and other
                                 Joint filings.

    7 weeks after CMC            Defendant serves preliminary invalidity contentions in the
                                 form of (1) a chart setting forth where in the prior art
                                 references each element of the asserted claim(s) are found, (2)
                                 an identification of any limitations the Defendant contends are
                                 indefinite or lack written description under section 112, and
                                 (3) an identification of any claims the Defendant contends are
                                 directed to ineligible subject matter under section 101.
                                 Defendant shall also produce (1) all prior art referenced in the
                                 invalidity contentions, and (2) technical documents, including
                                 software where applicable, sufficient to show the operation of
                                 the accused product(s).



8
  The parties may amend preliminary infringement contentions and preliminary invalidity contentions
without leave of court so long as counsel certifies that it undertook reasonable efforts to prepare its
preliminary contentions and the amendment is based on material identified after those preliminary
contentions were served and should do so seasonably upon identifying any such material. Any
amendment to add patent claims requires leave of court so that the Court can address any scheduling
issues.

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    9 weeks after CMC             Parties exchange claim terms for construction.

    11 weeks after CMC            Parties exchange proposed claim constructions.

    12 weeks after CMC            Parties disclose extrinsic evidence. The parties shall disclose
                                  any extrinsic evidence, including the identity of any expert
                                  witness they may rely upon with respect to claim construction
                                  or indefiniteness. With respect to any expert identified, the
                                  parties shall identify the scope of the topics for the witness’s
                                  expected testimony. 9 With respect to items of extrinsic
                                  evidence, the parties shall identify each such item by
                                  production number or produce a copy of any such item if not
                                  previously produced.

    13 weeks after CMC            Deadline to meet and confer to narrow terms in dispute and
                                  exchange revised list of terms/constructions.

    14 weeks after CMC            Defendant files Opening claim construction brief, including
                                  any arguments that any claim terms are indefinite.

    17 weeks after CMC            Plaintiff files Responsive claim construction brief.

    19 weeks after CMC            Defendant files Reply claim construction brief.

    19 weeks after CMC            Parties to jointly email the law clerks (see OGP at 1) to
                                  confirm their Markman date and to notify if any venue or
                                  jurisdictional motions remain unripe for resolution.

    21 weeks after CMC            Plaintiff files a Sur-Reply claim construction brief.

    3 business days after         Parties submit Joint Claim Construction Statement and email
    submission of sur-reply       the law clerks an editable copy.

                                  See General Issues Note #7 regarding providing copies of the
                                  briefing to the Court and the technical advisor (if appointed).

    22 weeks after CMC (but       Parties submit optional technical tutorials to the Court and
    at least 10 days before       technical advisor (if appointed).
    Markman hearing)




9
  Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied upon by
the other party.

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 23 weeks after CMC (or as       Markman Hearing at 9:00 a.m. This date is a placeholder and
 soon as practicable) 10         the Court may adjust this date as the Markman hearing
                                 approaches.

 1 business day after            Fact Discovery opens; deadline to serve Initial Disclosures per
 Markman hearing                 Rule 26(a).

 6 weeks after Markman           Deadline to add parties.
 hearing

 8 weeks after Markman           Deadline to serve Final Infringement and Invalidity
 hearing                         Contentions. After this date, leave of Court is required for any
                                 amendment to infringement or invalidity contentions. This
                                 deadline does not relieve the parties of their obligation to
                                 seasonably amend if new information is identified after initial
                                 contentions.

 16 weeks after Markman          Deadline to amend pleadings. A motion is not required unless
 hearing                         the amendment adds patents or patent claims. (Note: This
                                 includes amendments in response to a 12(c) motion.)

 26 weeks after Markman          Deadline for the first of two meet and confers to discuss
                                 significantly narrowing the number of claims asserted and
                                 prior art references at issue. Unless the parties agree to the
                                 narrowing, they are ordered to contact the Court’s law clerk to
                                 arrange a teleconference with the Court to resolve the disputed
                                 issues.

 30 weeks after Markman          Close of Fact Discovery.
 hearing

 31 weeks after Markman          Opening Expert Reports.
 hearing

 35 weeks after Markman          Rebuttal Expert Reports.
 hearing

 38 weeks after Markman          Close of Expert Discovery.
 hearing

 39 weeks after Markman          Deadline for the second of two meet and confers to discuss
 hearing                         narrowing the number of claims asserted and prior art
                                 references at issue to triable limits. If it helps the parties
                                 determine these limits, the parties are encouraged to contact

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  All deadlines hereafter follow the original Markman hearing date and do not change if the Court delays
the Markman hearing.

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                              the Court’s law clerk for an estimate of the amount of trial
                              time anticipated per side. The parties shall file a Joint Report
                              within 5 business days regarding the results of the meet and
                              confer.

 40 weeks after Markman       Dispositive motion deadline and Daubert motion deadline.
 hearing
                              See General Issues Note #7 regarding providing copies of the
                              briefing to the Court and the technical advisor (if appointed).

 42 weeks after Markman       Serve Pretrial Disclosures (jury instructions, exhibits lists,
 hearing                      witness lists, discovery and deposition designations).

 44 weeks after Markman       Serve objections to pretrial disclosures/rebuttal disclosures.
 hearing

 45 weeks after Markman       Serve objections to rebuttal disclosures; file Motions in
 hearing                      limine.

 46 weeks after Markman       File Joint Pretrial Order and Pretrial Submissions (jury
 hearing                      instructions, exhibits lists, witness lists, discovery and
                              deposition designations); file oppositions to motions in limine

 47 weeks after Markman       File Notice of Request for Daily Transcript or Real Time
 hearing                      Reporting. If a daily transcript or real time reporting of court
                              proceedings is requested for trial, the party or parties making
                              said request shall file a notice with the Court and email the
                              Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com


                              Deadline to meet and confer regarding remaining objections
                              and disputes on motions in limine.

 8 weeks before trial         Parties to jointly email the Court’s law clerk (See OGP at 1) to
                              confirm their pretrial conference and trial dates.
 3 business days before       File joint notice identifying remaining objections to pretrial
 Final Pretrial Conference.   disclosures and disputes on motions in limine.

 49 weeks after Markman       Final Pretrial Conference. Held in person unless otherwise
 hearing (or as soon as       requested.
 practicable)




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 52 weeks after Markman          Jury Selection/Trial.
 hearing (or as soon as
 practicable) 11




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  If the actual trial date materially differs from the Court’s default schedule, the Court will consider
reasonable amendments to the case schedule post-Markman that are consistent with the Court’s default
deadlines in light of the actual trial date.

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    XII.    APPENDIX B – EXEMPLARY CASE READINESS STATUS REPORT


                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


  [Plaintiff],

                 Plaintiff                             Case No. 6:21-cv-00000-ADA


                 v.                                    JURY TRIAL DEMANDED


  [Defendant],

                 Defendant


                              CASE READINESS STATUS REPORT

       Plaintiff [names] and Defendant [name(s)], hereby provide the following status report.

                                           SCHEDULE

       A scheduling order [has been proposed and awaits entry by the Court, has been issued by

the Court, or has not yet been filed].

       [Indicate if a Markman date has been set, proposed, or not yet proposed.]

       [Indicate if a trial date has been set, proposed, or not yet proposed.]

                                  FILING AND EXTENSIONS
       Plaintiff’s Complaint was filed on [filing date]. There have been [one/two] extension[s] for

a total of __ days.

                               RESPONSE TO THE COMPLAINT
       [Indicate if/when the Defendant(s) responded to the Complaint, whether it was an Answer

or Motion, and whether any counterclaims were filed other than counterclaims for non-

infringement or invalidity]
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                                       PENDING MOTIONS
          [Identify all pending motions]

                       RELATED CASES IN THIS JUDICIAL DISTRICT
          [Identify all related cases in this Judicial District, including any other cases where a

common patent is asserted]

                            IPR, CBM, AND OTHER PGR FILINGS
          [There are no known IPR, CBM, or other PGR filings.] [Or]

          ALT: IPR2021-00000 was filed on ____ and docketed on ____. An institution decision is

expected on or before ___. A Final Written decision is expected on or before _____.]

                      NUMBER OF ASSERTED PATENTS AND CLAIMS
          Plaintiff has asserted [Num Patents] patent[s] and a total of [Num Claims] claims. The

asserted patent(s) are U.S. Patent Nos. ____.

          [If a Plaintiff has already served Preliminary Infringement Contentions (“PICs”), note the

date of service. Note: Per the Court’s Order Governing Proceeding, Plaintiff must serve PICs no

later than 7 days before the CMC]

                         APPOINTMENT OF TECHNICAL ADVISOR
          [Indicate if the Parties request, oppose, or defer to the Court on whether to appoint a

technical advisor to the case to assist the Court with claim construction or other technical issues]

                                 MEET AND CONFER STATUS
          Plaintiff and Defendant met and conferred. [The Parties have no pre-Markman issues to

raise at the CMC.] or [The Parties identified the following pre-Markman issues to raise at the CMC

[list].




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Dated: ___________                        Respectfully Submitted

                                          /s/




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